Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 1of 32 Page ID #:10

EXHIBIT “A”
Case 8:21-cv-00868-JVS-ADS Document-1-2 Filed 05/10/21 Page 2 of 32 Page ID #:11

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30-2020-01154674-CU-PO-CJC - ROA # 3 - DAVID H. YAMASAKI, Clerk of the Court By Randi Baker, Deputy Clerk.

SUM-100
SUMMONS: oor ERE YE OMY a
‘(Gt TACION JupIciAL)

NOTICE TO: DEFENDANT:

(AVISO AL: DEMANDADO):

 
 

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YOU ARE BEING SUED BY PLAINTIFF:
{LO ESTA DEMANDANDO EL DEMANDANTE):

JANIE MICHELLE SCOTT

   

 

 

NOTICE! You have besn sued. The court may deckia against you without your being heard Linvess you respond within 30 days. Read the Information
below.

You have 30 CALENDAR DAYS after this summons and lagal papers ara served on you tp file a written response at this court and have a copy
sefved on (ne plaintiit.:A letter or phone call will not protect you. Your wittten response must ba in proper legal form If you want the court to hear your
ase, There may bé B court form that you can use for your response. You can find these ‘court forms and more Information at the Callfomta Courts
Onine Selt-Help Canter (wwiw.courtinfo.ca.gov/seihelp), your county law fbfary, or tha courthouss nearest you. If you cannot pay the filing fea. ask
the court clerk for a fee walver for. H you donot file your raspanse on time, you may lose the case by default, and your wages, money, end property
may be taken without further warning from the court,

‘There dre‘other legal requirements. You may wart to cal! an attorney right away. If you do not know an alttomey, you may want to calt an attomey
referral service, If you cannot afford en attomsy, you may be eligible for tree legal services from _@ nonprofit legal services program: You can locate
these nonprofit groups al the Cabfomld Legal Senicas Wob site (wiv. fawhelpcalfomia.arg), tha Califomla Cotits Onfine Self-Help Center
(win. courting. ca. gov/seifhaip), or by codtacting your local cour of county bar association. NOTE: The count has a ‘statitory flen for walved feas and
coats on any settientent of arbitration aveasd of $10,000 or more In a civd Case. The court's fien must be paid before fre court will dlamiss the ‘case.
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pagar o! gravamen de la core antes de que fa carte puede desechar e! caso.

 

 

 

Tha name and address of the courtis: ““TCASE NUMBER: 39.2920-01154674-CU-PO-CJC
(El nambre y direccién de ta corte es):- Orange County Superior Court tmera del Caso} Judge Derek W. Hunt
700 W Civic Center Dr, Santa Ana, CA 92701 :

 

 

The name, address, and telephone hurnber of plaintiff's attorney, or plaintiff without an attomey, is:

§. Sean Bral, Esq. « = 1875 Century Park East, ‘Suite. 1770, ‘Los Angeles; CA: 90067; Tel: S10 189-2007
Sy’ , Deputy
aes | (Adjjusito) *
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Randi Baker ~

DATE: 08/11/2020 pawin 4, YAMASAKI, Clark of the Court

   
 

 

. NOTICE TO THE:PERSON SERVED: You are'served
1. (J, as an individual dafendant.
. 2. (CC) as the person suad under the fictitious name of (specify):

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under: CCP.416.10: ER aie Uy (__] ‘CCP.416.60:(minor)
cop: 418:20:(déhinct cotporatich) [_] CCP 446.70 (consérvatee)
(_] CCP 416.40:(association or partnershlp) [—] CCP.416.90 (authorized person)

 

 

 

 

 

 

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| LOS ANGELES, CALIFORNIA, 90067

 

' -Attomeys for Plaintiff,
_ JANIE:MICHELLE SCOTT

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SUPERIOR COURT GF THE: STATE OF CALIFORNIA

JANIE MICHELLE SCOTT
Plaintiff,

CASE NOQ.: 30-2020-01154674-CU-PO-C}C

)
13 || vs. } COMPLAINT FOR DAMAGES
14 y 1 _NEGLIGENCE\PREMISE
)
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3

 

|| COSTCO: WHOLESALE . LIABILITY
15 |, CORPORATION, ‘A CALIFORNIA
{1 GORPORATION arid DOES. 1-20,
16 || INGLUSIVE

Wy Defendants,

Assigned for all purposes
Judge Derek W, Hunt

 

Plaintiff JANIE MICHELLE SCOTT (‘Plaintiff’) alleges:

of Los Anpelés, State of Califorriia.
2, — Pldintiff'is informédiaitd believes anid thereon:alleges that Defendants, COSTCO:
WHOLESALE CORPORATION, A CALIFORNIA.CORPORATION and:Does 120,

 

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1. Orange County,
‘24 3. The:trué names and capacities, whether individual, corporate, associate or otherwise, of :
3 Defendants DOES | through 20, inclusive, are unknown to Plaintiff, who therefore sues
4 said Deferidants by such fictitious names, and Plaintiff will seek Jeave of Court to amend
5 |f this Complaint to show the true names and capacities thereof when the same have been
6 ascertained.
7TH 4, Plaintiffis informed and believes and thereon alleges that each of the Defendants
8 | designated'hérein as a DOE is:responsible, negligently or in some other manner, for the
9: events and happenings herein referred to,.and thereby proximately caused injuries and
10. damages to the Plaintiff'as hereinafter alleged.
11} 5 Defendants ‘at all times mentioned herein were the agents, servants, employers,
12 |} employees, partners, members, shareholders, officers, directors, joint venturers, and alter
13, egos of each other, and in doing or failing to do the things héteinafter mentioned were
14 | acting within the purpose and scope‘of her agency and employment and with the
15 knowledge.and consent of éach other and with:such a unity of interests between each
16 | other and with the individual owners of each corporate or government entity that any |
17 corporate or government shield or fictitious entity should be disregarded.
18 | 6 As used herein the term “Defendants” means all Defendants, both jointly and severally,
19 : and referencés by name to any named Deféndant shall include:all Defendants, including
20 but not limited to Doe Defendants, both jointly and severally.
21.4) 7 Each and all of the‘acts, events and injuries alleged hereinafter, took place and were
22. sustained on or about August 13, 2018 in the County. of Orange County, State of
23 California.
241 8 At all times mentioned herein, Defendants owned, maintainéd, controlled, managed,
25 supervised and\or operated the premises located at.or near 27972'Cabat Rd, Laguna
26 Niguel, CA 92677 at the aforementioned:time and place Defendants so negligently’
2 .
28 COMPLAINT ae DAMAGES

 
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‘maintained, controlled, managed, operated, inspected, atid\or supervisé'said Premises as
16 prevent foreseeable users, invitees, and cistoniérs such:as Plaintiff, from béing
exposed to perilous and unsafe conditions, inclusive without: limitation to, wet:and

slippery floors causing the Plaintiff'to:falland thereby. sustain tlié hereinafter described
injuries and damages.

9, Defendants knew or in exercise of reasonable care sliould have known:such actions:and
otfiigsions. constituted a dangerous arid.an unreasonable fisk‘of harm of which:Plaintiff at
all tities was unawiie of.

. 10. Déféndariis'neglifjétitly failed to. take steps to either make the:condition safe or warn the

o 8 YN DA A BW NH

Plaintiff of the dangerous: condition, thereby. causing the hereinafter described injuries and

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damages ‘tothe Plaintiff.
11. Ag the-ditect‘and proximate result of the negligence of the above named Defendant(s),

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and exch of thern, Plaintiff was hurt and injured in her health, strength and activity;

 

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sustaining serious injuries to body aiid severe-shock ‘and injuries t6 the riervous system

aiid person, all of which injiities have caused arid contifue-to cause Plaintiff great mental,

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H 12. Asa further and direct and proximate result of the negligérice of the Defendants, Plaintiff

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to amend'‘this Complaint'te set:forth the exact aréunt thereof when thé:same.has been.
ascertained, . .
‘} 13. Plaintiffis informed and believes and thereon alleges that asthe direct result.and

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‘medical and iticidental expenses theréby. The exact amount.of'such éxpéiises is presently

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COMPLAINT FOR DAMAGES:
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1 unknown to Plaintiff and Plaintiff will seek leave of Court to aménd this Complaint to-set
2 forth the exact amount theréof when the:same has been ascertained.

3 || 14.  Atthe time of the above'mentionied incident, Plaintiff was gainfullyemployed. As a

4 further and direct and proximate result of the négligence of the Defendant(s), Plaintiff

5 was unable to. attend to her usual ‘employment.and has/have lost income. The exact

6 amount of such damages is presently unknown to Plaintiff and Plaintiff will seek leave of

7 court to amend this complaint to set forth the exact amount thereof when the same has

8 been ascertained.

9 || 15. Plaintiff is informed and believes and thereon alleges that as.a direct and proximate result
10 | of thé negligence of the Defendants, and each of them, Plaintiff will, for a period of time
11 in the future, be unable to attend and\or obtain gainful employment or that her ability to
12 obtain gainful employment is diminished:and\or her earning capacity has been
13 diminished. The:exact.amount of such losses is presently unknown to Plaintiff and
14 | Plaintiff will seek leave of court to amend this Complaint to set forth the exact amount
15. thereof when the same has béen ascertained.

16 |) WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them, as

17 1). follows:

 

 

18) 1. General damages, according to proof and in an amount in excess of the
19 jurisdictional minimum of this Court;

20 2. Medical and incidental expenses:according to proof;

21 : 3. All other special and incidental damages according to proof;
22 |) 4. Loss of earnings.according to proof;

23 5. Loss of earning capacity. according to'proof;

2A 6, Pre-judgement interest according ‘to proof;

25 7. Costs ‘of:suit incurred herein;

26 8. Attorney’s fees as provided by law;

27

28 COMPLAINT FOR DAMAGES

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Case 8:21-cv-00868-JVS-ADS Document 1-2 -Fred-OS‘-6yeeeminegsGenietieniecemaiaseisSulineeein

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9. Such other and further relief as the Court may ‘deem just and proper.

_ DATED: August 11,2020 ‘BRAL & ASSOCIATES

 

 

 

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COMPLAINT FOR DAMAGES:
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Case 8:21-cv-00868-JVS-ADS Document 1-2 Fiec-05/+6/2+—Page 3-0t8? Paget

 

 

- DO NOT FILE WITH THE COURT- CiV-050
-UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CiVIL PROCEOURE § 585 -

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Nome end Address): ‘ TELEPHONE NO.. FOR COURT USE ONLY
S. Sean Bral, Esq. 190489 310-789-2007

Bral & Associates

1875 Century Park East, Suite 1770

Los Angeles, CA 90067

ATTORNEY FCR rams: Plaintiff, Janie Michelle Scott -
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
street aporess, 700 W. Civic Center Dr.
MAILING ADORESS.
civyanoarcoc: Santa Ana, CA 92701
prancuiawe: Central Justice Center

PLAINTIFF: Janie Michelle Scott

DEFENOANT: Costco Wholesale Corporation

STATEMENT OF DAMAGES CASE NUMBER:
(Personal Injury or Wrongful Death) 30-2020-01 154674-CU-PO-CJC

 

 

 

 

 

 

 

 

To (nama of one defendant only):
Plaintiff (name of one plaintiff only):
seeks damages in the above-entitled action, as follows:

1. General damages AMOUNT
‘a L477) Pain, suffering, and inconvenianes .......eccecsesccse steiner $290,000.00

b. CJ) Emotional distress. .......cccccccscccsccsccsecsscsssssssssssnssssnessessesssassvesseiesesssevsssssseaesrersestengsuenerssssaeee 9
©, L—] Loss of Comsortiurn ..u..csccssssssssssssssescecessssessssseessessstsecsesestsesersssssssosssnsscssssunsusesesanoessetecsasstencesssnnvetenass $

, d. (7 Loss of sociey and companionship (wrongful death actions Only)... eee sree
e. L_] Other (specify)

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FT Other S08 cnn niinniiisnnnnninnisinninitnannenassen $
g. ("J Continued on Attachment 1.9.
2. Special damages

2. LZ) Medical expanses (10 086)... coccscccccccccsssentseusesseeeenintiinenmisuenminssiineieiinacncnee $39,000.00
b, C27) Future medical Expenses (praesent VAlUG) oo... eects cesses cence eee cersneseeseee tee nenenerseasteetensens ees $ 50,000.00
c. Loss of earnings (10 ate) .......cccecssssesssecseeetsececsees $ 5,000.00.
g, L__] Loss of future earning capacity (present VaIUe) oo... eescsncesseseecceneestsssneteenneemmineenecee §
eC Property DAMAGS ........escecssssseseseecesceesscesesseseuesensuevsuserescoesseeerssassecesatessaeousrseescecasseetsensoes tae: seseeesteuees $

  

 

t. 7] Funeral expenses (wrongful death actions OMY) ......ececceseccsecsesseseceeeseeseieeencacionnscnsaaeetieesscacetoessses
g. [J Future contributions (present value) (wrongful death actions ONY) acc cesecceseececeeeesetansererssesstonescarnerees
h. (J Value of personal service, advice, or training (wrongful death actions only)
i. (2) Other (specify)
j. C1 other (specify setts
k. (7) Continued on Attachment 2 2. k.

      

3.) Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify). $
when pursuing a judgment in tha suit filed against you.

Date: 4/7/21

 

 

 

Sean Bral »
(TYPE OR FRINT NAME} (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)
; (Proof of servica on reverse) Page 10f2
Fom este for Maagatery Uso STATEMENT OF DAMAGES Cite of Cuil Procedure, §§ 425.11, 425.116
as Council of Catfomia www.coutinio.ca.gav
CIV-080 (Rev, anery i 2007] (Personal Injury or Wrengfui Death)

 

 
Case 8:21-cv-00868-JVS-ADS Document1-2 Filed 05/10/21 Page 9 of 32 Page ID#:18

* . at

SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE

ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKAGE

NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the
ADR Information Package along with the complaint and/or cross-complaint.

California Rules of Court — Rule 3.221
Information about Alternative Dispute Resolution (ADR)

(a) Each court shall make available to the plaintiff, at the time of filing of the complaint,
an ADR Information Package that includes, at a minimum, all of the following:

(1) General information about the potential advantages and disadvantages of ADR
and descriptions of the principal ADR processes.

(2) Information about the ADR programs available in that court, including citations to
any applicable local court rules and directions for contacting any court _ staff
responsible for providing parties with assistance regarding ADR.

(3) Information about the availability of Jocal dispute resolution programs funded
under the Dispute Resolutions Program Act (DRPA), in counties that are
participating in the DRPA. This information may take the form of a list of the
applicable programs or directions for contacting the county’s DRPA coordinator.

(4) An ADR stipulation form that parties may use to stipulate to the use of an ADR
process.

(b) A court may make the ADR Information Package available on its website as longas
paper copies are also made available in the clerk’s office.

(c) The plaintiff must serve a copy of the ADR Information Package on each defendant
along with the complaint. Cross-complainants must serve a copy of the ADR
Information Package on any new parties to the action along with the cross-complaint.

L1200 Rev. Dec. 2019 Page | of 4
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SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE

ADR Information

Introduction.

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
a trial. ADR can also give people more opportunity to determine when and how their dispute will be
resolved.

BENEFITS OF ADR.

Using ADR may have a variety of benefits, depending on the type of ADR process used and the
circumstances of the particular case. Some potential benefits of ADR are summarized below.

Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
months, even weeks, while bringing a lawsuit to trial can take a year or more.

Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.

Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
allow the parties to choose an expert in a particular field to decide the dispute.

Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
example, an experienced mediator can help the parties effectively communicate their needs and point of
view to the other side. This can be an important advantage where the parties have a relationship to
preserve.

Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
advantages, may increase the parties' overal? satisfaction with both the dispute resolution process and the
outcome.

Improve Attorney-Ctient Relationships. Attorneys may also benefit from ADR by being seen as problem-
solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to produce
happier clients and thus generate repeat business from clients and referrals of their friends and associates.

DISADVANTAGES OF ADR.
ADR may not be suitable for every dispute.
Loss of protections. If ADR is binding, the parties normally give up most court protections, including a

decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
appellate court. :

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Less discovery. There generally is less opportunity to find out about the other side’s case with ADR
than with litigation. ADR may not be effective if it takes place before the parties have sufficient
information to resolve the dispute.

Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
through ADR, the parties may have to put time and money into both ADR and alawsuit.

Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
a dispute is in an ADR process.

TYPES OF ADR IN CIVIL CASES.

The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
conferences.

Arbitration. In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from
each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
means that the parties waive their right to a trial and agree to accept the arbitrator's decision as __ final.
Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
parties are free to request a trial if they do not accept the arbitrator's decision.

Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
want another person to decide the outcome of their dispute for them but would like to avoid-the
formality, time, and expense of a trial. It may also be appropriate for complex matters where the
parties want a decision-maker who has training or experience in the subject matter of the dispute.

Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
more favorable result at trial than in arbitration, there may be penalties.

Mediation. In mediation, an impartial person called a "mediator" helps the parties try to reach a mutually
acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
with the parties.

Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
parties have a relationship they want to preserve. So when family members, neighbors, or business
partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
them communicate with each other in an effective and nondestructive manner.

Cases for Which Mediation May Nat Be Appropriate. Mediation may not be effective if one of the
parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
the parties have a history of abuse or victimization.

Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
each party's evidence and arguments and about how the dispute could be resolved. The evaluator is

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often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
parties typically use it as a basis for trying to negotiate a resolution of the dispute.

Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
appropriate in cases in which there are technical issues that require special expertise to resolve or
the only significant issue in the case is the amount of damages.

Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
appropriate when there are significant personal or emotional barriers to resolving the dispute.

Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
"settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
case and in negotiating a settlement. Settlement conferences are appropriate in any case where
settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
for trial.

ADDITIONAL INFORMATION.

In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
a combination of ADR types. The important thing is to try to find the type or types of ADR that are most‘
likely to resolve your dispute.

To locate a dispute resolution program or neutral in your community:
* Contact the California Department of Consumer Affairs, Consumer Information Center, toll free, at
1-800-852-5210
* Contact the Orange County Bar Association at (949) 440-6700
¢ Look inthe telephone directories under “Arbitrators” or “Mediators”

Low cost mediation services are provided under the Orange County Dispute Resolution Program Act
(ORPA). For information regarding DRPA, contact:

* OC Human Relations (714) 480-6575, mediator@ochumanrelations.org
° Waymakers (949) 250-4058

For information on the Superior Court of California, County of Orange court ordered arbitration program,
refer to Local Rule 360.

The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
(ENE). For the Civil Mediation program, mediators on the Court’s panel have agreed to accept a fee of

$300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
programs is available on the Court’s website at www.occourts.org.

L1200 Rev. Dec. 2019 Page 4 of 4
ase 8:2T-TV-00868-IVS-ADS~— Document 1-2 Filed 05/10/21 Page 13 of 32 Page ID #:22

 

ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NO.: FOR COURT USE ONLY
NAME:

FIRM NAME: . .
STREET ADDRESS: For your protection
CITY: STATE: "ZIP CODE: and privacy, please
TELEPHONE NO.: FAX NO.: press the Clear This

E-MAIL ADDRESS: Ts ae aftary
ATTORNEY FOR (name) Form button after you
are done printing this
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE form.

JUSTICE CENTER:

O Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045

O Civil Complex Center - 751 W. Santa Ana Blvd, Santa Ana, CA 92701-4512

O Harbor — Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
O North ~ 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500

O West — 8141 13"Street, Westminster, CA 92683-4593

PLAINTIFF/PETITIONER:

 

 

DEFENDANT/RESPONDENT:
ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION CASE NUMBER:

 

 

 

 

 

Plaintiff(s)/Petitioner(s),

 

 

 

and defendant(s)/respondent(s),

 

agree to the following dispute resolution process:

(Mediation

(Arbitration (must specity code)
("J Under section 1141.11 of the Code of Civil Procedure
(J Under section 1280 of the Code of Civil Procedure

(_] Neutral Case Evaluation

The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
was referred, whichever is sooner.

CII have an Order on Court Fee Waiver (FW-003) on file, and the setected ADR Neutral(s) are eligible to
provide pro bono services.

(] The ADR Neutral Selection and Party List is attached to this Stipulation.

We understand that there may be a charge for services provided by neutrals. We understand that participating in
an ADR process does not extend the time periods specified in California Rules of Court, rule 3.720 et seq.

Date;

 

(SIGNATURE OF PLAINTIFF OR ATTORNEY) (SIGNATURE OF PLAINTIFF OR ATTORNEY)

Date: '
(SIGNATURE OF DEFENDANT OR ATTORNEY) (SIGNATURE OF DEFENDANT OR ATTORNEY)

 

ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
Approved for Optional Use Calitornia Rules of Court, rule 3.221
L!270 (Rev. March 2019)

 

 

 
Case

 

4

Electronically Filed by Superior Court of California, County of Orange, 08/11/2020 02:48:35 PM.
30-2020-01154674-CU-PO-CUC - ROA # 4 - DAVID H. YAMASAKI, Clerk of the Court By Randi Baker, Deputy Clerk.

 

 

 

 

 

 

 

 

 

CM-04
LATGpeY SP EAP earing ATGORNEY (Name, Stale Bay muenber, anal odaress)~ POR COURT USE ONLY
Bral &Associates
1875 Century Park Hast, Ste 1770
Los Angeles, CA 90067
TeepHone no; 310.789.2007 raxno: 310.789.2006
ATTGRNEY FOR (oma): Plaintiff
UPERIOR COURT OF CALIFORMIA, COUNTY OF
staceT aooress: 700 W Civic Center Dr.
MAING ADDRESS.
cary ano zip cove: Santa Ana, CA 92701
BRANCH NAME:
CASE NAME:
Scott v. Costco Wholesale Corporation
CIVIL CASE COVER SHEET Complex Case Designation CASE -AUMBERE
Unlimited Cj Limited oo 30-2020-01154674-CU-PO-CjC
(Amount (Amount Counter ) Jalnder
; JUDGE:
demanded demanded is Filed with firat appearance by defendant Judge Derek W, Hunt
exceeds $25,000} $26,000 or less) (Cal, Rules of Court, rule 3.402) DEPT.
items 1-6 below must be completed (see instructions an page 2).
1. Chack ana box below for the case type that best describes this case:
Auto Tert Contract Provistonally Complex Civil Litigation
Auto (22} C_] Breach of contractiwarranty (08) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) [__} Rute 3.740 cotections (09) [_] antitrustTrade regulation (03)
Other PHPDIWD (Personal Injury/Property Other cofections (09) [_} Censtruction defect (10)
DamageWrongful Death) Tort insurance coverage (18) (_] Mass tort (40)
Asbesins (04) Other contract (37) Securities litigation (28)
Product lability (24) Real Proporty Environmental/Toxic tort (30)
Medical malpractice (45) C] Eminent dornain/inverse {_] insurance coverage clalms aristng from the
Other PUPD/WD (23) condemnation (14) above Ysted provisianafty complex case
lon-PUPDAND (Other) Tort | Wrongful eviction (33) types (41)
Business tort/untair business practice (07) Other real property (26) Enfarcement of Judgment
[_} civi rights (08) Unlawful Detalner [} Enforcement of Judgment (20)
Defamation (13) Commercial (31) Miscellaneous Clvi Complaint
Fraud (16) CL} Residentiat (32) [_] rico (27;
intelectual property (19) LJ onigs (38) [—} Giher complain Gratianaciftid aban) (2)
Professional negligence (25) Judicial Raview Miscolaneous Civil Petition
Other non-PUPDAND tost (35) Asset forfeiture (05) Partnership and corporate govemance (21)
Employment Petition ca: arbitration award (11) C] Other petition (not specified above) (43)
Wrongful termination (38) [_] Writ of mandate (02)
Other employment (15} {] Olhar judicial review (39)

 

 

2. Thiseasa L_Jis LY Jisnot complex under rule 3.400 of the California Rules of Court. If the case is comptex, mark the
factors requiring exceptional judicial management

a. Cj Large number of separately represented parties d. {| Large numbar of witnesses
b. Cc) Extensive motion practice raising difficult or novel — a. [__] Coordination with related actions pending in one or more courts

  
 

issues that will be time-consuming to resolve In other counties, states, or countries, or in a federal court
c. Cj Substantial amount of documentary evidance f Cy Substantial postjudgment judicial supervision
3. Remadies sought (check ail that epply): aly] monetary b.[_] nonmonatary; declaratory or injunctive relief —c. C_]punitive
4. Number of causes of action (specify): 1
5. This case el Is v7 isnot ‘aclass action suit
6. Ifthere are any known related cases, file and serve a notice of related case. (Yau may. ys vin CM-015,)
: 08/10/2020 \ _cetincn
SME an BLY .

 

 

CPE OR PRINT NAME) (SIGNATURE OF\PARTY OR ATTORNEY FOR PARTY)
NOTICE \

e Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except.small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institutlons Code). (Cal. Rules of Caurt, Tule 3.220.) Failure to file may result
in sanctions.

* Fila this cover sheat in addition to any cover sheet required by lacal court rule.

® If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

* Unless this is a collections case under mule 3.740 of a complex case, this cover sheet will be used for statistical purposes ony, i

 

 

Mandatory Uso * Cal. Rules of Court, nuias 2.20, 3. 3400-3.403, 2.740,
Feyiscel Coutel of oars CIVIL CASE COVER SHEET Cal Guendar of ualal Adrdrcaraer et, 3.16
CM010 [Rev. Ady 1, 2007) Wert, Courtin. ca. gov

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Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 16 of 32 Page ID #:25

EXHIBIT “B”
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 17 of 32 Page ID #26 10

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and addrass) FOR COURT USE ONLY
|. S. Sean Bral, Esq. | SAN: Bar No. 190489

Law Offices of S. Sean Bral
1875 Century Park East Suite 1770 Los Angeles, CA 90067

 

TELEPHONE NO.: (310) 789-2007 | FAX NO. (310) 789-2006 | E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name): Plaintiff:

 

ORANGE COUNTY SUPERIOR COURT
STREET ADORESS: 700 CIVIC CENTER DRIVE WEST
MAILING ADDRESS:
CITY AND ZiP CODE: SANTA ANA, CA 92702-0838
BRANCH NAME: SANTA ANA
PLAINTIFF: Janie Michelle Scott CASE NUMBER:
30-2020-01154674-CU-PO-CJC

 

DEFENDANT: Costco Wholesale Corporation, etc.,

 

PROOF OF SERVICE OF SUMMONS Rel No. or PHa No: scott

 

 

 

 

(Separate proof of service is required for each party served.)

1. At the time of service | was at least 18 years of age and not a party to this action.
2. | served copies of:

a. J Summons

b. Complaint

c Alternative Dispute Resolution (ADR) package

a0 Civil Case Cover Sheet (served in complex cases only)

é. Cross-complaint

f. other (specify documents): Civil Case Cover Sheet; Statement of Damages

3. a. Party served (specify name of party as shown on documents served):
Costco Wholesale Corporation, a California Corporation

b. V1 Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):

Jessie Gastelum (C.T. Corporation System) - Agent for service of process

4. Address where the party was served: CT CORPORATION
818 W Seventh Street, Suite # 930
Los Angeles, CA 90017

5. | served the party (check proper box)

a. by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
teceive service of process for the party (1) on (date): 4/9/2021 (2) at (time): 1:50 PM

b. by substituted service. On (date): at (time): | leit the documents listed in item 2 with or
in the presence of (name and title or relationship to person indicated in item 3b):

(1) C) (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
person to be served. | informed him of her of the general nature of the papers.

2 | home) a competent member of the household (at least 18 years of age) at the dwellin house or usual place of
(2) ons if the parly, | informed him or her of the Genera nature of the Bonar, 9 re prece ©

(3) C (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
of the person to be served, other than a United States Postal Service post office box. | informed him of her of the
general nature of the papers.

(4) Cc] | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
place where the copies were left (Code Civ. Proc., §415.20). | mailed the documents on

(date): from (city): or (J a declaration of mailing is attached.

(5) C1 {attach a declaration of diligence stating actions taken first to attempt personal service.

 

= —_ Page 1of2
focal Coonelof Canes Ue PROOF OF SERVICE OF SUMMONS ode of Civil Procedure, § 417.10

POS-010 fRev. January 1, 2007] POS010-1/0169176
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 18 of 32 Page ID #:27

 

PETITIONER: Janie Michelle Scott CASE NUMBER:

30-2020-01154674-CU-PO-CJC
RESPONDENT: Costco Wholesale Corporation, etc.,

 

 

 

c. L] by mail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the address
shown in item 4, by first-class mail, postage prepaid,
(1) on (date): (2) from (city):
(3) LC] with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
(Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
(4) CJ to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
dL) by other means (specify means of service and authorizing code section):

C) Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:

a. a as an individual defendant.

b. CL] as the person sued under the fictitious name of (specify):

Cc. as occupant.

g. On behalf of (specify): Costco Wholesale Corporation, a California Corporation
under the following Code of Civil Procedure section:

415.95 (business organization, form unknown)

416.60 (minor)

416.70 (ward or conservatee)

416.90 (authorized person)

415.46 (occupant)

other:

416.10 (corporation)
[] 416.20 (defunct corporation)
Cc] 416.30 (joint stock company/association)
C] 416.40 (association or partnership)
[-] 416.50 (public entity)

OOOO00O

7. Person who served papers
a. Name: Victor Mendez - All-N-One Legal Support, Inc.
. Address: 1541 Wilshire Blvd, Suite 405 Los Angeles, CA 90017
. Telephone number: (213) 202-3990
. The fee for service was: $ 66.50
| am:

ooo mo

( exempt from registration under Business and Professions Code section 22350(b).

( registered California process server:
(i) owner tt employee 4 independent contractor.

(il) Registration No.: 3428
(iii) County: Los Angeles

(1) not a registered California process server.
2)
3)

8. ial | declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
or
9. LJ lam a California sheriff or marshal and | certify that the foregoing is true and correct.

Date: 4/14/2021

All-N-One Legal Support, Inc.
1541 Wilshire Blvd, Suite 405
Los Angeles, CA 90017

(213) 202-3990
www.allnonelegal.com

Victor Mendez b

(NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL) (SIG of
Vv

PROOF OF SERVICE OF SUMMONS PAgRI2 of
POS-010/0169176

 

POS-010 (Rev January 1, 2007]

 
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 19 of 32 Page ID #:28

EXHIBIT “C”
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 20 of 32 Page ID #:29

5/4/2021 Business Search - Business Entities - Business Programs | California Secretary of State

Dr. Shirley N. Weber
California Secretary of State

Q, Business Search - Entity Detail

The California Business Search is updated daily and reflects work processed through Monday, May 3, 2021. Please refer to
document Processing Times for the received dates of filings currently being processed. The data provided is not a complete or

 

certified record of an entity. Not all images are available online.

C1587907 COSTCO WHOLESALE CORPORATION

Registration Date:
Jurisdiction:

Entity Type:

Status:

Agent for Service of Process:

Entity Address:

Entity Mailing Address:

 

Certificate of Status

 

06/05/1987

WASHINGTON

FOREIGN STOCK

ACTIVE

C T CORPORATION SYSTEM (C0168406)

To find the most current California registered Corporate
Agent for Service of Process address and authorized
employee(s) information, click the link above and then
select the most current 1505 Certificate.

999 LAKE DRIVE
ISSAQUAH WA 98027
P.O. BOX 35005
SEATTLE WA 98124

A Statement of Information is due EVERY year beginning five months before and through the end of June.

Document Type

PUBLICLY TRADED DISCLOSURE

SI-NO CHANGE

PUBLICLY TRADED DISCLOSURE
| SI-COMPLETE

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PUBLICLY TRADED DISCLOSURE

https://businesssearch.sos.ca.gov/CBS/Detail

If File Date

04/01/2021

03/31/2021

01/24/2020

06/27/2019

12/28/2018

01/22/2018

01/13/2017

01/11/2016

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Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 21 of 32 Page ID #:30

5/4/2021 Business Search - Business Entities - Business Programs | California Secretary of State

Document Type it File Date iF PDF

PUBLICLY TRADED DISCLOSURE 01/12/2015

PUBLICLY TRADED DISCLOSURE 01/16/2014

PUBLICLY TRADED DISCLOSURE 01/17/2013

PUBLICLY TRADED DISCLOSURE 01/24/2012

PUBLICLY TRADED DISCLOSURE 01/21/2011

PUBLICLY TRADED DISCLOSURE 01/22/2009

PUBLICLY TRADED DISCLOSURE 01/09/2008

PUBLICLY TRADED DISCLOSURE 01/16/2007

PUBLICLY TRADED DISCLOSURE 01/26/2006

PUBLICLY TRADED DISCLOSURE 06/29/2004

PUBLICLY TRADED DISCLOSURE 09/11/2003 Image unavailable. Please request paper copy.
AMENDED REGISTRATION 01/22/1988

REGISTRATION 06/05/1987

* Indicates the information is not contained in the California Secretary of State's database.

e Ifthe status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.

e For information on checking or reserving a name, refer to Name Availability.

e If the image is not available online, for information on ordering a copy refer to Information Requests.

¢ For information on ordering certificates, status reports, certified copies of documents and capies of documents not
currently available in the Business Search or to request a more extensive search for records, refer to Information
Requests.

e For help with searching an entity name, refer to Search Tips.

« For descriptions of the various fields and status types, refer to Frequently Asked Questions.

 

Modify Search New Search Back to Search Results

https://businesssearch.sos.ca.gov/CBS/Detail 2/2
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 22 of 32 Page ID#:31

EXHIBIT “D”
Cage 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 23 of 32 Page ID #:32

 

 

DEBORAH S. TROPP, ESQ. — BAR NO. 162613
TRACY L. BREUER, ESQ. — BAR NO. 238687
MCNEIL, TROPP & BRAUN, LLP

2 Park Plaza, Suite 620

Irvine, California 92614

(949) 259-2890; Fax: (949) 259-2891

jbraun@mtbattorneys.com; tbreuer@mtbattorneys.com
Attorneys for Defendant COSTCO WHOLESALE CORPORATION

SUPERIOR COURT OF CALIFORNIA

COUNTY OF ORANGE, CENTRAL JUSTICE CENTER

JANIE MICHELLE SCOTT,

Plaintiff,

VS.

COSTCO WHOLESALE CORPORATION, a
California Corporation and DOES 1-20,
Inclusive

 

Defendants,

CASE NO. 30-2020-01154674-CU-PO-CJC
UNLIMITED CIVIL CASE

ASSIGNED FOR ALL PURPOSES TO:
DEPARTMENT C10

DEFENDANT’S NOTICE TO ADVERSE
PARTIES OF REMOVAL OF CASE TO
FEDERAL COURT .

UNDER 28 U.S.C § 1441 (a) (DIVERSITY)

COMPLAINT FILED: August | 1, 2020
TRIAL: August 29, 2022

TO PLAINTIFF, JANIE MICHELLE SCOTT, AND TO HER COUNSEL OF

RECORD:

NOTICE IS HEREBY GIVEN

that

Defendant, COSTCO WHOLESALE

CORPORATION, a Washington Corporation, has filed a Notice of Removal of the above-

captioned action, a copy of which is attached hereto as Exhibit “A” (without exhibits), with the

United States District Court for the Central District of California, Southern Division.

Mt
Mt

 

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DEFENDANT’S NOTICE TO ADVERSE PARTIES OF REMOVAL OF CASE TO FEDERAL COURT
UNDER 28 U.S.C § 1441 (a) (DIVERSITY)

 
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PLEASE TAKE FURTHER NOTICE that pursuant to 28 U.S.C. § 1446(d) the filing of
said Notice in the United States District Court, together with the filing of said Notice with this
Court, effects the removal of this action and the above-captioned Court may proceed no further

unless and until the case has been remanded.

Dated: May 10, 2021 McNEIL TROPP & BRAUN LLP

Deborgh $. Tropp, Esq.

Tracy L* Breuer, Esq.

Attorneys for Defendant

COSTCO WHOLESALE CORPORATION

 

2
DEFENDANT’S NOTICE TO ADVERSE PARTIES OF REMOVAL OF CASE TO FEDERAL COURT
UNDER 28 U.S.C § 1441 (a) (DIVERSITY)

 

 
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PROOF OF SERVICE
C.C.P. §1013a, C.R.C. 2.301(3), 2.306
STATE OF CALIFORNIA )
) $s.
COUNTY OF ORANGE )

I am employed in the aforesaid County, State of California. | am over the age of 18 years
and not a party to the within action; my business address is 2 Park Plaza, Suite 620, Irvine,
California 92614.

On May 10, 2021, I served the foregoing document described as DEFENDANT’S NOTICE TO
ADVERSE PARTIES OF REMOVAL OF CASE TO FEDERAL COURT
UNDER 28 U.S.C § 1441 (a) (DIVERSITY)

on the interested parties in this action by:

X Placing ___ the original X_ a true copy thereof, enclosed in sealed envelopes,
addressed as follows on the attached SERVICE LIST.

BY MAIL: I am "readily familiar" with the firm's practice of collection and
processing correspondence for mailing. Under that practice, it would
be deposited with the United States Postal Service on that same day,
with postage thereon fully prepaid at Irvine, California in the ordinary
course of business. I am aware that on motion of the party served,
service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing an affidavit.

BY FACSIMILE TRANSMISSION: From FAX No. (949) 259-2891 the facsimile
number(s) and addressee(s) stated on the attached SERVICE LIST.
The facsimile machine I used complied with Rule 2.301(3), and no
error was reported by the machine. Pursuant to Rule 2.306(h),
I caused the machine to print a record of the transmission and attached
it to the document contained in our file, a copy of which is available
upon request.

BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to the
offices of the addressee.

x BY ELECTRONIC MAIL: I caused a copy of the aforementioned document to
be delivered by electronic mail to the representatives on the
attached Service List.

BY FEDERAL EXPRESS: | caused a courtesy copy of the aforementioned document to
be delivered by overnight mail via Federal Express to the
representatives on the attached Service List.

X STATE: I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

Executed on May 10, 2021, at Irvine, California. OQ “a ~

( XUnsee Wien
Jena M. Riveja /

3

DEFENDANT’S NOTICE TO ADVERSE PARTIES OF REMOVAL OF CASE TO FEDERAL COURT
UNDER 28 U.S.C § 1441 (a) (DIVERSITY)

 

 

 
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 26 of 32 Page ID #:35

 

 

 

 

 

 

1 SERVICE LIST
2 || SCOTT v. COSTCO
3 OUR FILE NO.: 4700-68
4 S. Sean Bral, Esq. Attorneys for Plaintiff JANIE MICHELLE
5 Chantalle Levian, Esq. SCOTT
6 Bral & Associates (310) 789-2007
7 1875 Century Park East, Suite 1770 Fax: (310) 789-2006
8 Los Angeles, California 90067 sbfirm@gmail.com
9 chantalle.sbfirm@gmail.com
10
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DEFENDANT’S NOTICE TO ADVERSE PARTIES OF REMOVAL OF CASE TO FEDERAL COURT
UNDER 28 U.S.C § 1441 (a) (DIVERSITY)

 

 

 
Case 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 27 of 32 Page ID #:36

EXHIBIT “A”
Cas

Oo Oo SN HD A BP WHO

NO BN KN KYO BRD NO RQ RQ ROO ee
ao nN DN UO FF WW NH —| ODO OO OAD KH HN FP WD HO KK CO

dtro mtbattorneys.com
tbreuer@mtbattorneys.com

Cc
2 Park Plaza, Suite 620
Irvine, California 92614

LLP

Attorneys for Defendant

Corporation

JANIE MICHELLE SCOTT,
Plaintiff,
vs.
COSTCO WHOLESALE
CORPORATION, A CALIFORNIA

CORPORATION and DOES 1 TO 20,
inclusive,

Defendants,

Ph: (949) 259-2890; Fax: (949) 259-2891

 

 

# 8:21-cv-00868-JVS-ADS Document 1-2 Filed 05/10/21 Page 28 of 32 Page ID #:37

DEBORAH S. TROPP, ESQ. —- BAR NO. 162613
.~ BAR NO. 238687

COSTCO WHOLESALE CORPORATION, a Washington

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

CASE NO. 8:21-cv-00686

DEFENDANT’S NOTICE OF
REMOVAL OF ACTION UNDER 28
U.S.C. § 1441(a) (DIVERSITY)

TO THE CLERK OF THE ABOVE ENTITLED COURT, PLAINTIFF,

JANIE MICHELLE SCOTT, AND TO HER COUNSEL OF RECORD:

NOTICE IS HEREBY GIVEN that Defendant, COSTCO WHOLESALE
CORPORATION, a Washington Corporation (“Defendant”), hereby removes this
action from the Superior Court of the State of California, County of Orange, Central
District, to the United States District Court, Central District of California, Southern

Division and sets forth in support of its Notice of Removal of Action the following:

 

Case No.:

 

 

DEFENDANT’S NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C. § 1441(a) (DIVERSITY)

 
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1 1. On August 11, 2020, Plaintiff, JANIE MICHELLE SCOTT
2 ||(“Plaintiff’), commenced an action against Defendant by filing a Summons and
3 || Complaint in the Superior Court of California, County of Orange, Central District,
4 }|Case No. 30-2020-01154674-CU-PO-CJC. (A true and accurate copy of Plaintiff's
5 || Summons, Complaint, Statement of Damages and Alternative Dispute Resolution
6 ||(ADR) Information Packet are attached as Exhibit A to the Declaration of Tracy L.
7 || Breuer.)
8 2. Plaintiff filed an unlimited civil complaint seeking monetary damages
9 ||in excess of $75,000.00. In the complaint, and as a result of the slip and fall
10 |/ incident, Plaintiff claims to have suffered: (1) wage loss; (2) medical and incidental
11 ||}expenses; (3) general damages; (4) loss of earning capacity; (5) future medical
12 |}expenses. (See Complaint at p. 4 and Statement of Damages.)
13 3, Defendant was served on April 9, 2021. (A true and accurate copy of
14 || Plaintiff's Proof of Service is attached to the Declaration of Tracy L. Breuer as
15 || Exhibit B.)
16 4. Defendant first received notice of this action on April 9, 2021 a date
17 || less than 30 days before the date this notice of removal is filed. Defendant has not
18 || otherwise been served with any other process, pleadings, or orders, other than those
19 || attached as Exhibits A and B. (See Breuer Dec. at { 2, 3.)
20 5. Defendant has filed this Notice pursuant to 28 U.S.C. § 1446(b) in a
21 ||timely fashion, in that this Notice has been filed within one year of the
22 ||commencement of the action and within 30 days of service of the summons and
23 |}complaint. See Murphy Bros., Inc. v. Michetti_ Pipe Stringing, Inc. 526 U.S. 344
24 |/(1999).
25 Complete Diversity Exists
26 6. This action wholly involves citizens of different states. At the time this
27 || action was commenced, and since that time, Plaintiff was and is a resident and
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Case No.: ; DEFENDANT’S NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C. § 1441(a) (DIVERSITY)

 

 

 
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1 |/citizen of the State of California, with her domicile in the State of California. (See

2 || Breuer Dec. at 7 4.)

3 7. Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be a

4 || citizen of any State by which it has been incorporated and of the State where it has

5 |/its principal place of business.” Defendant was, at the time of the filing of this

6 |/action, and still is, a citizen of the State of Washington, where it has its principal

7 ||place of business and where it is incorporated. (See Exhibit C to Breuer Decl.;

8 || Breuer Decl. ¥ 5.)

9 8, Pursuant to 28 U.S.C. §1441(a), the fictitious defendants named in the
10 |;complaint are disregarded for purposes of determining the existence of diversity
11 || citizenship.

12 The Amount in Controversy Requirement is Satisfied
13 9. Plaintiff filed an unlimited civil complaint seeking monetary damages
14 |/in excess of $75,000.00. In the complaint, and as a result of the slip and fall
15 || incident, Plaintiff claims to have suffered: (1) wage loss; (2) medical and incidental
16 ||expenses; (3) general damages; (4) loss of earning capacity; (5) future medical
17 ||expenses. (See Complaint at p. 4 and Statement of Damages.)
18 10. Plaintiff has served a Statement of Damages alleging that she is
19 ||seeking damages for economic damages in excess of $75,000 and general damages
20 || of $250,000. (See Breuer Decl. ¥ 7.)
21 11. Thus, based on the facts provided above, the amount in controversy,
22 ||exclusive of interest and costs, is in the excess of $75,000.00. This Court therefore
23 ||has original jurisdiction of this action under 28 U.S.C. § 1332 and, because
24 || Defendant is not a citizen or resident of the State of California, wherein this action is
25 || pending, removal of the action to this court is proper under 28 U.S. Code § 1441(a).
26 || ///
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Case No.: ° DEFENDANT’S NOTICE OF REMOVAL OF ACTION

UNDER 28 U.S.C. § 1441 (a) (DIVERSITY)

 

 

 
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The Other Requirements for Removal Are Met

12. A copy of the Notice to Adverse Parties of Removal of the Case to
Federal Court, which is attached to this Notice, will be filed with the Superior Court
of California, County of Orange, Central District and served on all involved parties
to this action. (A true and correct copy of the Notice to Adverse Parties of Removal
of Case to Federal Court is attached to the Declaration of Tracy L. Breuer as
Exhibit D.)

13. Removal to this Court is proper as the Superior Court of the State of
California, County of Orange, where this action was originally filed, is located
within this district.

14. Plaintiff has been served with this Notice of Removal, and the
additional supporting pleadings.

WHEREFORE, Defendant, COSTCO WHOLESALE CORPORATION,

prays that this action be removed to this Court.

Dated: May 10, 2021 McNEIL TROPP & BRAUN LLP

By:__/s/ Tracy L. Breuer
Deborah S. Tropp, Esq.
Tracy L. Breuer, Esq.
Attorneys for Defendant
COSTCO WHOLESALE
CORPORATION a Washington
Corporation

 

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Case No.: DEFENDANT’S NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C. § 1441(a) (DIVERSITY)

 

 
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CERTIFICATE OF SERVICE

I hereby certify on May 10, 2021, I electronically filed the foregoing:
DEFENDANT’S NOTICE OF REMOVAL OF ACTION with the Clerk of the
Court for the United States District Court, Central District of California by using the
Central District CM/ECF system.

Participants in the case who are registered CM/ECF users will be served by
the USDC-Central District of California CM/ECF system.

I further certify that participants in the case not registered to as CM/ECF
users have been mailed a true and correct copy of the above described documents by
First Class Mail, postage pre-paid, to the following non-CM/ECF participants:

Sean Bral, Esq.

Chantalle Levian

BRAL & ASSOCIATES.

1875 Century Park East, Suite 1770
Los Angeles, CA 90067

I am "readily familiar" with the firm's practice of collection and processing
correspondence for mailing. Under that practice, it would be deposited with the
United States Postal Service on that same day, with postage thereon fully prepaid at
Irvine, California in the ordinary course of business. I am aware that on motion of
the party served, service is presumed invalid if postal cancellation date or postage
meter date is more than one day after date of deposit for mailing an affidavit.

 FEDERAL:] declare under penalty of perjury in accordance with 28 U.S.C.
Section 1746 that the foregoing is true and correct.

Executed on May 10, 2021, at Irvine, California.

/s/ Tracy L. Breuer
TRACY L. BREUER

 

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Case No.: DEFENDANT'S NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C. § 1441(a} (DIVERSITY)

 

 
